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3. MAG. i)i<'r.ir)i:r. NoMiiF.R 4. oisT. nKTJi)F.F. Ni)i\ioi:a s. APPEALS nicr.ii)or. NUMBF.R 6. omni DKT. Nu.viiii:it

2:05-020282-003 .1 )
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(Sge [n_struciions) ’</

U.S. v. Jordan Felony Adult Defendant Criminai Case

 

 

 

 

il. OFFENSE(S) CllARGED [Citi.' U.S. Code, Tille & Sectinn) ll'rriore than one offense, list [up to live) major oli=nsrs charg¢'d, according to severity o|'olTi:nse.

l) 18 371.F -- CONSPIRACY TO DF.]"RAUD THE UNITED STATES

 

 

12. AT']`ORNEY'S NAME (First Niime. M.I., Last Nam¢,inrluding any sull°iii) ll COURT ORDER
AN[) MA"JNG AI)DRESS [E 0 Appoinling Courixe| i:| C Co-Coun§n]
PARR]S, ROBERT \:\ F Suhs For Frdera| D¢fender [:] k Subs Fnr Retairiod Atiomry
8 SOUTH TI_"RD ST l:] F Suhs For Panel Altorney m Y Standby Couns¢l
4TH FLOOR Prior Attornry’s Name:
MEMP}'H S TN 38103 A|ipi)inlmmt Dai¢:

 

 

m Beciiuse the above-named person repnsuited has testified under oath or has ’ _ Q, C`JQ/
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Have you previously applied tn the court fir compensation and/or remimbursement forthis case? i:| YES ij N[) ll'yes,wore you paid? [] YES I:_j .\iO
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l swear or affirm the truth or correctness ofthe above statements.

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28. SIGNATURE OF THE PRESID|NC JUDlCIAI, DFFECER [)ATE ZSa. .IUDCE,' MAG. JL‘DGEI CODF.
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Robcrt L. Parris

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Honorablc Bcrnicc Donald
US DISTRICT COURT

